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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

******************************************:
JAZMYNE MEADE                             :
                                          :                     CIVIL ACTION NO. 3:20-cv-1266
V.                                        :
                                          :
WALMART, INC.                             :
                                          :                     AUGUST 27, 2020

                            DEFENDANT’S NOTICE OF REMOVAL

TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF

CONNECTICUT:

       The named defendant, Walmart, Inc. (“Defendant”), by and through its undersigned counsel,

and pursuant to 28 U.S.C.A. § 1332(a) and § 1441, hereby removes this action from the Superior

Court, Judicial District of Hartford, in the State of Connecticut, to the United States District Court for

the District of Connecticut and in support of which states as follows:

       1.      The plaintiff, Jazmyne Meade (“Plaintiff”), commenced an action by service of

process against the Defendant in state court entitled, Jazmyne Meade v. Walmart, Inc., returnable to

the Superior Court, Judicial District of Hartford. A copy of the referenced Summons and Complaint

are attached hereto as Exhibit A.

       2.      This Notice of Removal is timely and filed with this Court within thirty (30) days after

receipt by Defendants of the initial pleadings setting forth the claims for relief upon which this action

is based. The Defendant was served on or around July 30, 2020.

       3.      In her Complaint, the Plaintiff seeks unspecified damages. However, the Plaintiff

alleges the following injuries and damages “thoracic and lumbar spine contusion and sprain/strain

injuries, pain and suffering, and her injuries or the effects thereof are or may be permanent in nature.”
                                                   -1-


                                 ROGIN NASSAU LLC • ATTORNEYS AT LAW
             CITYPLACE I • HARTFORD, CONNECTICUT 06103-3460 • (860) 256-6300 • JURIS NO. 050793
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See Exhibit A at ¶ 4. The Plaintiff further alleges that she “spent and will be obliged to expend large

sums of money for medical care, x-rays, therapy, medication, surgery, and the like in an endeavor to

cure herself.” Id. at ¶ 5. In addition, Plaintiff claims that she “was disabled from work and sustained

lost earnings.” Id. at ¶ 6. Based on Plaintiff’s allegations and Defendant’s investigation to date, the

damages claimed exceed $75,000.00 upon information and belief.

       4.      Pursuant to the Summons, the Plaintiff has an address in East Hartford, Connecticut.

       5.      Defendant, Walmart, Inc., is a corporation organized in the State of Delaware, with a

principal place of business in Bentonville, Arkansas. There is complete diversity of citizenship

between the Plaintiff and the Defendant.

       5.      The above-entitled action is a civil action over which this Court has original

jurisdiction under the provisions of 28 U.S.C. § 1332 and thus may be removed to this Court by the

Defendant pursuant to the provisions of 28 U.S.C. § 1441.

       6.      This action is removable pursuant to the provisions of 28 U.S.C. § 1441 because this

is a civil action wherein the amount in controversy exceeds the sum of or the value of $75,000.00

exclusive of interest and costs, and Plaintiff and Defendant are citizens of different states.



Dated this 27th day of August, 2020.

                                                                THE DEFENDANT

                                                         By:    /s/ George C. Springer, Jr.
                                                                George C. Springer, Jr. [ct03263]
                                                                Rogin Nassau LLC
                                                                185 Asylum Street, 22nd Floor
                                                                Hartford, CT 06103-3460
                                                                Tel: (860) 256-6380
                                                                Fax: (860) 278-2179
                                                                E-mail: gspringer@roginlaw.com
                                                   -2-


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                                         CERTIFICATION

       This is to certify that a copy of the foregoing was served electronically this 27th day of August
2020 and served by mail on anyone unable to accept electronic filing. Notice of this filing will be
sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail at the
addresses shown below to anyone unable to accept electronic filing as indicated on the Notice of
Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

       Peter M. Appleton
       Appleton & Appleton, LLC
       266 Pearl Street
       Hartford, CT 06103

                                               /s/ George C. Springer, Jr.
                                               George C. Springer, Jr. [ct03263]




                                                  -3-


                                ROGIN NASSAU LLC • ATTORNEYS AT LAW
            CITYPLACE I • HARTFORD, CONNECTICUT 06103-3460 • (860) 256-6300 • JURIS NO. 050793
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               EXHIBIT A
1.   SUMMONS - CIVIL              Case 3:20-cv-01266-AVC Document 1 Filed 08/27/20 Page 5 of 9
                                                                                  STATE OF CONNECTICUT
     JD-CV-1 Rev. 4-16
     C.G.S. §§ 51-346, 51-347, 51-349, 51-350, 52-458,                              SUPERIOR COURT
     52-48, 52-259, P.B. §§ 3-1 through 9-21, 8-1, 10-13                                                                                                     www.jud.agov
     See other side for instructions
        "X" if amount, legal interest or property in demand, not including interest and
     " costs is less than 82,500.
      . "X" if amount, legal interest or property in demand, not including interest and
     md
        costs is $2,500 or more.
     0 "xn if claiming other relief in addition to or in lieu of money or damages.

 TO: Any proper officer; BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of
 this Summons and attached Complaint.
     Address of court clerk where writ and other papers shall be filed (Number, street town and zip code)           Telephone number of desk          Return Date (Must be a Tuesday)
     (C.G.S. §§ 51-346, 51-350)                                                                                     (with area code)

     95 Washington Street, Hartford, CT 06108                                                                       ( 860 ) 548-2700                  September                    8 , 2 020
                                                                                                                                                               Month                 —Thi ar
     LI Judicial District                                             At (Town in which writ is returnable) (C.G.S. ft§ 51-346, 51-349)               Case type code (See list on page 2)
                                                 DA
     El Housing Session                         Number:               Hartford                                                                         Major: T               Minor: 90
     For the Plaintiff(s) please enter the appearance of:
     Name and address of attorney, law firm or plaintiff If self-represented (Number, street. town and zip code)                                      Jurls number (to be entered by &piney orgy)
     Appleton & Appleton, LLC, 266 Pearl Street, Hartford, CT 06103                                                                                   006437
     Telephone number (with area code)                                Signature of Plaintiff (itself-represented)
     ( 860) 246-5481
     The attorney or law firm appearing for the plaintiff, or the plaintiff if                                 Email address for delivery of papers under Section 10-13 (if agreed to)
     self-represented, agrees to accept papers (service) electronically in       0 Yes        Ei No
     this case under Section 10-13 of the Connecticut Practice Book.

     Number of Plaintiffs: 1                        Number of Defendants: 1                                  Form JD-CV-2 attached for additional parties
            Parties             Name (Last First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if not USA)
          First             Name: MEADE, JAZMYNE                                                                                                                                            P-01
         Plaintiff          Address: 89 Phelps Street, East Hartford,                CT 06108
        Additional          Name:                                                                                                                                                           P-02
         Plaintiff          Address:

             First          NameC4IVAIRRT INC)                                                                       Agent for Service: CT Corporation System                               D-01
        Defendant           Address: 08 Ail street, Bentonville, AR 72716                                            20 Church Street, Hartford, CT 061N
        Additional          Name:                                                                                                                                                           D-02
        Defendant           Address:

        Additional          Name:                                                                                                                                                           D-03
        Defendant           Address:

        Additional          Name:                                                                                                                                                           0-04
        Defendant           Address:

     Notice to Each Defendant
     1.YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers states the daims that each plaintiff is making
        against you in this lawsuit.
     2. To be notified of further proceedings, you or your attorney must file a form called an "Appearance" with the c elk of the above-named Court at the above
        Court address on or before the second day after the above Return Date. The Return Date is not a hearing date. You do not have to come to court on the
        Return Date unless you receive a separate notice telling you to came to court.
     3.1f you or your attorney do not file a written "Appearance" form on time, a judgment may be entered against you by default. The "Appearance" form may be
        obtained at the Court address above or at wwwjud.etgov under "Court Forms."
     4.If you believe that you have insurance that may cover the daim that is being made against you In this lawsuit, you should immediately contact your
        Insurance representative. Other action you may have to take is described in the Connecticut Practice Book which may be found in a superior court law
        library or on-line at wwwjud.ctgov under "Court Rules."
     5. If yo ave questions about the Summons and Complaint, you should talk to an attorney quickly. The Clerk of Court Is not allowed to give advice on
        lea          estlons.
     Sign                    proper box)                                           mmissraner ofthe    Name of Person Signing at Left                                    Date signed
                                                                          F
                                                                          , --
                                                                             -ilic:perior Court
                                                                          I II Assistant Clerk         Peter M. Appleton, Esq.                                           07127/2020
     If this'Summons is signed by a Clerk:                                                                                                                        For Court Use On
     a. The signing has been done so that the Plaintiff(s) will not be denied access to the courts.                              A
     b. It is the responsibility of the Plaintiff(s) to see that service is made in the manner provided by law.                  A                                             41/
     c. The Clerk is not permitted to give any legal advice in connection with any lawsuit.
     d. The Clerk signing this Summons at the request of the Plaintiff(s) is not responsible in any way for any errors or omission                                     :
                                                                                                                                                                       t1
         In the Summons, any allegations contained In the Complaint, or the service of the Summons or Complaint.                                                  J. PRIVITERA
                                                                                                                                                                 ATE MARSHAL
                                                                                                                                                              ARTFORD COUNTY
                                           Signed (Sell-Represented Plaintiff)                                                   Date                      Docket Number
      I certify I have read and
      understand the above:
                                                                                             (Page 1 of 2)
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             RETURN DATE: SEPTEMBER 8, 2020                                                SUPERIOR COURT

             JAZMYNE MEADE                                                                 J.D. OF HARTFORD

             VS.                                                                           AT HARTFORD
       P.
       8
       re    WALMART INC.                                                                  JULY 27, 2020
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       cet
       2                                               COMPLAINT
       R
       ig
       R             1. At all times mentioned herein, the defendant, Walmart Inc., has been and continues to be a
3      '
E-           Delaware corporation authorized to transact business in the State of Connecticut with its principal place
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       lit
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             of business at 708 SW 8th Street, Bentonville, Arkansas, which owned and operated the Walmart retail
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<      M     store located at 155 Waterford Parkway in Waterford, Connecticut.
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•a                   2. On or about May 20, 2020, at approximately 5:20 p.m., the plaintiff, Jazmyne Meade, a
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             business invitee of the defendant, was standing in the driveway/parking area serving the defendant's sai
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             retail store when she was struck by a shopping cart in a train of shopping carts that were being moved b
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       1     an employee of the defendant which caused the plaintiff to sustain the serious injuries, losses and
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       •
             damages as hereinafter more fully set forth.
       i
       v7            3. The defendant caused the plaintiff to sustain said injuries in that:
       1
                     a.     its employee was negligent in failing to keep said carts under reasonable and proper

             control which resulted in striking the plaintiff;

                    b.      its employee failed to warn the plaintiff that said carts were dangerously close to her; and
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       c.      it failed to have in place policies and procedures, or its employee failed to follow same,

on how to move shopping carts so as to not endanger the safety of business invitees shopping at said

retail store and persons in the driveway/parking area such as the plaintiff.

       4. As a result of the defendant's negligence and carelessness, as aforesaid, the plaintiff sustained

thoracic and lumbar spine contusion and sprain/strain injuries, pain and suffering, and her injuries or the

effects thereof are or may be permanent or lasting in nature.

       5. As a further result of the negligence and carelessness of the defendant, as aforesaid, the

plaintiff spent and will be obliged to expend large sums of money for medical care, x-rays, therapy,

medication, surgery, and the like in an endeavor to cure herself.

       6. As a further result of the negligence and carelessness of the defendant, as aforesaid, the

plaintiff was disabled from work and sustained lost earnings.
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              WHEREFORE, the plaintiff claims monetary damages.



       4-                                            PLA           — JAZMYNE MEADE
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       O                                             By
                                                      Peter M. Appleton
                                                      APPLETON & APPLETON, LLC
                                                      Her Attorneys
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        RETURN DATE: SEPTEMBER 8, 2020                                            SUPERIOR COURT

        JAZMYNE MEADE                                                             J.D. OF HARTFORD

        VS.                                                                       AT HARTFORD
    S
        WALMART                                                                   JULY 27, 2020
    2
                                 STATEMENT OF AMOUNT IN DEMAND

               The amount, legal interest or property in demand is Fifteen Thciiisand (15,000.00) Dollars or
    •
5       more, exclusive of interest and costs.
    A


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    g
                                                    PLAID(IFF — JAZMYNE MEADE


                                                    By
E
    I                                                Peter M. Appleton
                                                     APPLETON & APPLETON, LLC
                                                     Her Attorneys     Ii




                                                                           J.P IVITE
                                                                        STATE MARSHAL
                                                                       ARTFORD COUNTY
